1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               1 of525
                                     of 31
                                                                           E-FILED
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1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               2 of625
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               3 of725
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               4 of825
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               5 of925
                                     of 31
1:13-cv-01494-JES-JEH
  1:13-cv-01494-JES # 98# 95Page
                               Page
                                 6 of10
                                      25of 31
1:13-cv-01494-JES-JEH
  1:13-cv-01494-JES # 98# 95Page
                               Page
                                 7 of11
                                      25of 31
1:13-cv-01494-JES-JEH
  1:13-cv-01494-JES # 98# 95Page
                               Page
                                 8 of12
                                      25of 31
1:13-cv-01494-JES-JEH
  1:13-cv-01494-JES # 98# 95Page
                               Page
                                 9 of13
                                      25of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               10 of
                                  1425
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               11 of
                                  1525
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               12 of
                                  1625
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               13 of
                                  1725
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               14 of
                                  1825
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               15 of
                                  1925
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               16 of
                                  2025
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               17 of
                                  2125
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               18 of
                                  2225
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               19 of
                                  2325
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               20 of
                                  2425
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               21 of
                                  2525
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               22 of
                                  2625
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               23 of
                                  2725
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               24 of
                                  2825
                                     of 31
1:13-cv-01494-JES-JEH
 1:13-cv-01494-JES # 98# 95
                          Page
                             Page
                               25 of
                                  2925
                                     of 31
